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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

HOMEVESTORS OF AMERICA, INC.,                 )
                                              )
                     Plaintiff,               )
                                              )
       v.                                     )    C.A. No. 22-1583 (RGA)
                                              )
WARNER BROS. DISCOVERY, INC.,                 )
                                              )
                     Defendant.               )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Defendant Warner Bros. Discovery, Inc.’s

Responses and Objections to Plaintiff Homevestors of America Inc.’s Requests for Production of

Documents, Set Two were caused to be served on April 3, 2024, upon the following in the manner

indicated:

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April 3, 2024




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2024, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

April 3, 2024, upon the following in the manner indicated:

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